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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 18-24656-CIV-ALTONAGA/Goodman

  CARLOS J. CASTILLO GONZALEZ,
  and MACK NASCIMENTO,

         Plaintiffs,
  v.

  B&K CONTRACTOR SERVICES, INC.
  and LEONARDO GOMEZ,

        Defendants.
  __________________________________/

                                              ORDER

         THIS CAUSE came before the Court sua sponte. On November 26, 2018, Plaintiffs

  served a copy of the summons and Complaint [ECF No. 1] on Defendant, B&K Contractor

  Services, Inc., through its registered agent, Leonardo Gomez. (See Return of Service [ECF No.

  10]). The individual defendant, Leonardo Gomez, was also served on November 26, 2018. (See

  Return of Service [ECF No. 11]). On December 4, 2018, the Court entered an Order requiring

  Defendants to submit a single combined response or separate answers by December 17, 2018.

  (See id.). To date, Defendants have failed to answer or otherwise respond to the Complaint, and

  the deadline to do so has passed. Accordingly, it is

         ORDERED that Plaintiffs shall submit a motion for entry of clerk’s default against

  Defendants no later than December 21, 2018, that includes the certificates of service indicating

  notices were sent to Defendants, including the addresses to which they were sent. Plaintiffs’

  failure to file the motion for entry of clerk’s default within the specified time may result in

  dismissal without prejudice and without further notice.
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                                        CASE NO. 18-24656-CIV-ALTONAGA/Goodman


        DONE AND ORDERED in Miami, Florida, this 18th day of December, 2018.



                                                _________________________________
                                                 CECILIA M. ALTONAGA
                                                 UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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